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NEWMAN & GREENBERG LLP
ATTORNEYS

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NEw York, N.Y. 10022,
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RICHARD A. GREENBERG , Gustave H. Newman (1927-2017)
STEVEN Y. YUROWITZ .
Wruam J. Dose November 11, 2019

By FedEx (next day delivery)
Hon. Cathy Seibel
United States District Judge

Southern District of New York FILED UNDER SEAL TO PROTECT
United States Courthouse THE CONFIDENTIALITY OF INTIMATE
300 Quarropas Street - Room 633 PERSONAL DETAILS

White Plains, New York 10601

Re: Matter of Richard P. Liebowitz
(Berger v. Imagina Consulting, Inc.,
18 cv 8956 (CS))

Your Honor:

I represent Richard P. Liebowitz (“Richard”) in a contempt proceeding arising out of the
above-entitled copyright infringement law suit (the underlying action has since been settled and
dismissed). In Your Honor’s Order and Order to Show Cause, dated November 1, 2019 (Exhibit
A), the Court directed Mr. Liebowitz to appear in person before the Court on November 13,
2019, and, as a penalty for Richard’s continuing failure to provide the requested documentation
of his grandfather’s death which was central to Richard’s failure to appear at the scheduled

" conference on April 12, 2019, Richard was ordered to pay a financial penalty to the clerk of the
court each Monday amounting to $100 per business day beginning October 7, 2019, subsequently
raised to $500 per business day beginning November 6, 2019, and now totaling by counsel’s
calculation $3700, not including the Veterans’ Day national holiday on Monday, November 11.

By the time Richard will appear before the Court on November 13, I have been assured that the
entire financial penalty imposed by the Court will have been paid.

For the reasons set forth below, I respectfully request that the Court vacate its two
contempt orders, declare Richard’s financial penalties satisfied, and permit him to continue to
practice before this Court. Counsel has advised Richard on the kind of substantial steps he can
take to ensure that his poor judgment or lapse in the Berger matter will not be repeated.
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A. Richard’s Background. Richard is an unmarried 31-year-old who resides with his “—
parents in Hewlett, New York. He graduated with a BA degree in communications from the
University of Pennsylvania in 2010, and with a J.D. degree from Hofstra University Law School
in 2014. In 2015 he was admitted by the Second Department to the Bar of the State of New
York, and in the same year he opened the Liebowitz Law Firm, located at 11 Sunrise Plaza,
Valley Stream, New York, where he has practiced continuously ever since. Richard has had no
other employment, experience or supervision as a lawyer.

An avid photographer, Richard’s law practice has been devoted exclusively to protecting
and enforcing the copyrights of freelance photographers under the federal copyright statute, 17 .
U.S.C. §1 et seg. Since its opening, Richard’s law practice has grown exponentially, filing
approximately 2000 law suits under the federal copyright statute in the four years of his firm’s
existence. Moreover, because of his burgeoning practice, Richard’s firm has grown
commensurately; he now employs a staff of 12, two of whom are lawyers, including an associate
with large commercial firm experience.

In short, while Richard is short on legal experience and training, he obviously fills a need
in the ranks of freelance photographers who struggle to make ends meet financially while their
work is often used by commercial entities, mostly media companies, without permission or
compensation. And despite the volume of his practice, his clients have never filed a grievance
against Richard or complained about the representation they received from Richard or his firm.!

In counsel’s view, however, this matter is not about the peculiar nature of Richard’s law
practice It is about Richard’s failure to carry out his responsibilities to the Court and adversary
counsel, a lapse caused by the death of a beloved family member, producing in Richard a brief
period of overwhelming grief and dysfunction.

B. The Death of Richard’s Grandfather. On the morning of April 9, 2019, Richard’s
93-year-old grandfather, Jaime Radusky, whose family had emigrated from Ukraine to Cuba
after World War II before Jaime and his family, including his daughter Sara (Richard’s mother),
emigrated again to the United States, died of a stroke. Consistent with Jewish Orthodox
tradition, Jaime was buried the same day, April 9, 2019.

 

' Attached to this letter as Exhibit B is a letter from Bruce Cotler, President of the New York
Press Photographers Association, Inc., the largest and oldest such association of photographers in the
country, reflecting the valuable contribution and service that Richard and his firm provides to working
photographers in New York City and elsewhere in the country.
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Attached to this letter as Exhibit C is an original death certificate confirming Jaime’s
death on April 9, together with a receipt from the funeral home (Shomrai Hadas, 718-436-8700)
given to the Liebowitz family for their payment of the expenses associated with the preparation
and burial of Jaime’s body at a Fairview, New Jersey, cemetery on April 9. The funeral home’s
receipt is attached to this letter as Exhibit D. On Friday, November 8, 2019, I spoke by telephone
with “Malkie,” an employee of the funeral home, who confirmed to me that the funeral home had
received, prepared and buried Jaime’s body on April 9, 2019, a representation corroborated by
the death certificate and the funeral home’s receipt. Moreover, the identity of Jaime as Richard’s
grandfather is confirmed by 1) Richard’s birth certificate (Exhibit E), which identifies his mother
as Sara Radusky, the same last name as her father and Richard’s grandfather, 2) the
naturalization papers of Richard’s mother, Sara, when she became a citizen of the United States
of America (Exhibit F), reflecting her last name as Radusky, and 3) a copy of the relevant pages
from Jaime’s trust agreement (Exhibit G) which reflects Jaime’s intent to distribute 10% of his
estate to “Grantor’s grandson, Richard Liebowitz.” In short, there can be no doubt, certainly
counsel has no doubt, that Richard’s aged grandfather, Jaime Radusky, died and was buried on
April 9, 2019.

C. Richard’s Failure to Appear at the Conference or to Notify the Court. The
Court scheduled a discovery conference in the underlying case for the morning of Friday, April
12,2019. Richard did not attend the conference, nor did he send anyone from his firm to cover
for him. And he failed to call the Court to explain his absence. Richard first contacted the Court
on Monday, April 15, by letter, informing the Court that he had “a death in the family,” and
apologized to the Court and opposing counsel for not appearing. The Court now knows from the
foregoing discussion that Richard’s initial explanation for his absence was true; his grandfather,
with whom he had a close and loving relationship, had recently died. See Section B, supra.

Richard’s problem in this matter arose during the rescheduled telephone discovery
conference on April 18, 2019, during which, in response to the Court’s probing questions,
Richard mistakenly identified April 12, not April 9, as the date his grandfather died, a mistake he
continued to make in several subsequent submissions to the Court. The Court understandably
was skeptical or mystified at Richard’s “death in the family” excuse because he failed to submit
his grandfather’s death certificate or any other documentation of his grandfather’s death, despite
the Court’s continued insistence. The question is: why did Richard fix April 12 as the date his
grandfather died, rather than the true date of April 9. Certainly the Court would have understood
and excused Richard’s absence whether the death occurred three days before the conference or on
the morning of the conference, particularly since the Court appeared aware of and knowledgeable
about Orthodox Jewish custom and tradition concerning the week of mourning after the death of
a loved one.
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There can be no excuse for Richard’s lapse, whether he stated and maintained the
erroneous date of death mistakenly or intentionally. Either would be understandable. For
example, Richard may genuinely have misremembered the date of death, and continued to adhere
to the April 12 date or, having taken the position that the date of death was April 12, he saw no
reason to question his memory or why it should matter. On the other hand, Richard may have
thought the Court would not understand his dysfunctional, grieving state originating three days
before the conference, and decided to fix the date of death as the morning of the conference. If
the latter explanation is the correct one, Richard not only misjudged the Court’s knowledge,
experience and decency, no doubt as an inexperienced young lawyer might, but he engaged in
inexcusable falsity, however immaterial.

Of course, either way, Richard has paid a high price for his failure of memory or falsity
concerning the true date his grandfather died. The incident has been a financial disaster. Richard
will have paid to the Clerk of the Court $3700 in financial penalties for his alleged contempt; he
has paid adversary counsel for his adversary’s wasted time at the conference which Richard
failed to attend; and Richard has paid thousands of dollars in attorneys fees for counsel’s
representation in this contempt matter. Nor is financial loss the only adverse consequence.
Richard has suffered horrible publicity as a result of being held in contempt and threatened with
incarceration by this Court. And of course Richard, a young and inexperienced lawyer, is scared
of the damage to his professional career as a result of his conduct and these proceedings. At the
tisk of appearing to minimize the seriousness of this matter, which counsel would not dare to do,
counsel urges this Court to find that Richard has suffered or been penalized enough for his lapse
or misconduct.

D. Remedial Efforts. Counsel was not retained until Thursday, November 7, 2019,
insufficient time to propose to Richard a full range of actions designed to bolster the efficiency
and professionalism of his practice. Counsel has, however, recommended that Richard seek
psychotherapy to understood and ameliorate the anxieties, tensions and infrequent lapses of
Richard’s demanding practice.

ounsel has also recommended that Richard enroll in a
CLE course addressing small law firm management. Moreover, since counsel is not particularly
familiar with the law of intellectual property, specifically copyright infringement and
enforcement, counsel does and will recommend to Richard that he seek out a respected mentor in
that field whom counsel has yet to identify. Finally, Counsel has known Richard and his family
for years, even as long ago as Richard’s Bar Mitzvah, and will always be available to render
advice and guidance to Richard, and counsel will advise Richard to make use of this resource
more often.
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E. Conclusion. Counsel thanks the Court for its patience, understanding and
consideration of this relatively lengthy submission. Richard has learned an important lesson.
Counsel doubts that the Court will hear about any similar lapses again on the part of Richard
Liebowitz.

Respectfully submitted,

A awd Phase L

Richard A. Greenberg
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EXHIBIT A
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK.

 

 

X
JASON BERGER,

Plaintiff,

— against ~ / - ORDER and
- ORDER TO SHOW CAUSE.
IMAGINA CONSULTING, INC.,
No. 18-CV-8956 (CS)
Defendant.
_ _

Seibel, J.

On April 5, 2019, Defendant filed a letter with the Court requesting a discovery
conference. (Doc. 27.) That same day, I granted Defendant’s request and scheduled adiscovery
conference for April 12, 2019 at 11 a.m. (Doc. 28,) I also ordered Plaintiff to respond to
Defendant’s letter by April 9, (id.), which Plaintiff did, (Doc. 30). On April 12, the Court held
the discovery conference, but Plaintiff's counsel, Richard Liebowitz, did not appear aind did not
call or email the Court or Defendant’s counsel to explain his absence. (Minute Entry dated Apr.
12, 2019.) That same day, I ordered Plaintiff to show cause in writing, on or before April 17,
2019, why he failed to appear for the conference and. why he should not be required to pay
Defendant’s attorney’s fees for the time expended to appear at the conference. (Doc. 31.) The
Court also rescheduled the conference for April 18, 2019. (éd.)

By letter dated April 15, 2019, Mr. Liebowitz advised that he had missed the conference
because of a death in the family which was an “unexpected urgent matter” to which he had to

attend. (Doc. 32.) He also said he would be out of the office on April 18 and asked to appear by

_phone at the rescheduled discovery conference. (Id.)
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The conference was held by phone on April 18. (See Minute Entry dated Apr. 18, 2019.)
Mr. Liebowitz represented that the death in the family occurred on the morning of April 12 and
apologized for not letting. Defendanit’s counsel and the Court know. During the conference,
issues were discussed that reflected negatively on Plaintiff's counsel’s credibility. For example,
Plaintiff had answered interrogatories saying his damages calculation had relied on “contracts,
invoices; [and] licensing agreements,” (Doc. 27 at 1), but when Defendant requested those
documents, Plaintiff said he could not produce them without a protective order. After Defendant
agreed to a protective order and the Court signed it, (Doc. 23), Plaintiff still produced nothing,
despite twice promising to do so. (See Doc. 27.) Further, Defendant’s counsel represented that
Mr. Liebowitz had told Defendant’s counsel that he could not comply because he was out of the:
country due to an emergency, when in reality he was at a trade show in Europe trying to drum up
business. At that point, concerned about Mr. Liebowitz’s credibility and the possibility that he
was trying to increase costs for Defendant’s counsel, I determined that I could not merely accept
Mr. Liebowitz’s representation that he missed the April 12 conference because ofa death in the
family, and directed that, among other things, by May 1, Mr. Liebowitz provide evidence or
documentation regarding who died, when, and how he was notified. I also permitted.
Defendant’s counsel to submit his billing records relating to the discovery dispute by May 1,
with Mr. Liebowitz having until May 15 to submit opposition to Defendant’s application that

Plaintiff cover those fees.'

 

' T also expressed concern over how Plaintiff's claim of $5000 in damages could possibly have |

been made in good. faith.
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On August 26, the day Mr. Liebowitz was required to provide his grandfather’s death
certificate pursuant to my August 19 order, Mr. Liebowitz instead submitted another Declaration.
(Doc. 52.) In this Declaration, Mr. Liebowitz argued that he was not in contempt because this
Court’s request for his grandfathier’s death certificate. was unlawful, as it “likely constitutes a

| usurpation of judicial authority ora breach of. judicial decorum,” (id J 14); his previous
Declarations complied with my previous orders, (éd. {| 15); “there [was] no basis to impose
monetary sanctions,” (id. {| 16); and the Court’s assurance that his grandfather’s death certificate
would not be made public was insufficient to protect his right to privacy, (id. | 17).

On September 27, I endorsed Mr. Liebowitz’s latest Declaration, stating that:

There is nothing unlawful about my August 19, 2019 order. There was also nothing

unclear about it. Likewise, Mr. Liebowitz’s failure to comply is apparent beyond any

reasonable doubt. Finally, he has not diligently attempted to comply. To the contrary,.
while maintaining that the death occurred (and thus implicitly conceding the existence of
‘a death certificate), he has repeatedly refused to provide it, even after the Court made

clear that his “good faith declarations” were insufficient and after the Court agreed that
the document need not be publicly filed. He has not shown or even alleged an inability to

comply.

(Doc. 53.) I therefore declared Mr. Liebowitz to be in contempt of coutt, and ordered that,
should he fail to comply with my order and provide the requested documentation by October 2,
he would be subject to monetary sanctions of $100 each business day until he complied. (id) I
also informed Mr. Liebowitz that, “[s]hould this sanction prove insufficient” to ensure his
compliance, “additional or different sanctions [would] be considered.” (/d.)

On October 2, Mr. Liebowitz wrote a letter to my chambers requesting an in-person.
conference to discuss my September 27 order, and also requesting a stay of that order “[fJor just
cause” until the conference could be held. (Doc. 54.) I denied. his request, noting that Mr.
Liebowitz’s letter had not stated what purpose would be served by an in-person conference, nor

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EXHIBIT B
 

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New York Press Photographers Association, Inc.
225 East 36" Street Suite 1-P New York, New York 10016
(212) 889-6633 ' Fax (212) 889-6634

http://www.nyppa.org E-mail: office@nyppa.org

 

November 10, 2019

Mr. Richard A, Greenberg, Esq.
Newman & Greenberg LLP
950 Third Avenue, 32nd Floor
New York, NY 10022

Dear Mr. Greenberg:

The New York Press Photographers Association (NYPPA) dates back to 1913, and is a fraternal
organization where news photographers could meet on social occasions, exchange ideas and get
to know one another better, instead of always meeting on the run at fires and breaking news
stories. :

New York is still the media capital of the world, and the NYPPA is the oldest press

. organization in the world, still existing to serve working photographers as a professional and
social organization. NYPPA members work for news organizations in the print and electronic
media, based within a 75-mile radius of Manhattan. The organization is made up of over 375
active members. We are an accredited 501(c)(6) organization that sponsors regular meetings for
social and educational purposes, liaises with governmental agencies whose actions directly
affect the media, maintains a committee to work with various college and professional sports
teams, publishes a regular newsletter, fields an annual contest with an exhibit and. an awards
dinner and dance, and holds an annual holiday party, which benefits underprivileged children.
Each year, we publish the New York Press Photographer, a book displaying the winning work
of our members from the annual contest.

I’ve known Richard Liebowitz, personally and professionally, for roughly 20 years and know
him to be a hardworking, compassionate, trustworthy and honest individual. Richard was the.
youngest member in the NYPPA’s history, at 15 years old. I was so imptessed with Richard that
I would take him out on photo assignments and watch how he would handle himself with
subjects of a story. He showed real emotion and empathy at crime scenes, fires and car

’ accidents, He also has a keen eye, a requirement for a good photojournalist.

In 2006, we published a photo book entitled: Apprentice! Lessons Learned on the Frontlines of
Life (enclosed), The book was a wonderful experience, and I was proud to be his mentor, and
even prouder of the fine young man he had become. I was very excited when I heard Richard

wanted to become a lawyer, and particularly a copyright lawyer.
 

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New York Press Photographers Association, Inc.
225 East 36" Street Suite 1-P New York, New York 10016
(212) 889-6633 Fax (212) 889-6634

_ bttp:/Avww.nyppa.org E-mail: office@nyppa.org

 

Afier hearing from helpless members of the organization how major media companies would
infringe on their work without paying a fee, he was determined to help. After law school,
Richard started his own law practice and was committed to achieve justice

for photographers. Richard would speak tirelessly to our members at Association events, as well
as other trade associations around the country. He really found his niche, and the word of mouth
spread quite a bit through the photography community. I have personally used Richard

to collect on infringed-upon photos that J have shot. I know from experience he is a very
committed lawyer looking to do right by his clients.

[have nothing but great things to say about this young man, and would be happy to recommend |
him to anyone who needs his services.

Sincerely,
B. Cf

Bruce Cotler, President
The New York Press Photographers Association, Inc.

The Oldest Press Association in America
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EXHIBIT C
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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EXHIBIT D
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New York State Deperiment of Health
Albany NOY. 12237

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EXHIBIT G
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TRUST AGREEMENT, made this _// day ot “OY _, 2015, by and
between JAIME RADUSKY (hereinafter referred to as the “Grantor”) and JAIME RADUSKY

(hereinafter together with his successors referred to as the “Trustees”).

So ee ee Se ee oe Soe oe

WHEREAS, the Grantor is desirous of transferring certain property in trust for his

 

own benefit and the benefit of others, to be known during the Grantor’s life as the Jaime
Radusky Revocable Trust:

NOW, THEREFORE, in consideration of the foregoing and of the covenants in
this Agreement contained, it is agreed as follows:

FIRST: The Grantor simultaneously herewith and as part of the same
transaction evidenced by this Trust Agreement hereby transfers, assigns, sets over and delivers to
the Trustees the property set forth on Schedule A TO HAVE AND TO HOLD the same IN

TRUST. NEVERTHELESS, to keep the same invested and to reinvest the same, to collect the

 

income thereof and pay to or apply for the benefit of the Grantor during his lifetime, without any
duty to take into consideration the Grantor's other resources or other income, so much or all of
the riet income and principal of the trust fund as the Trustees, in their sole and unreviewable
discretion, may deem advisable. The Trustees shall also pay to the Grantor so much or all of the
net income and principal of the trust fund as the Grantor shall request by an instrument in writing
delivered to the Trustees. Any net income that is not distributed shall be accumulated and added
to principal. |

Upon the death of the Grantor, the trust principal, together with all property
distributable to the Trustees as a result of the Grantor’s death, whether by will or otherwise, shall

be disposed of as follows:

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New York, along with all furniture, furnishings and household effects located in such residence
(the “Residence”) shall be disposed of as provided.in Article SECOND hereof.
(3) All of the rest, residue. and remainder of the remaining trust fund

(the “trust fund balance”) shall be disposed of as follows:

(2) QE creo? shail be distributed to the
GE, if ic is then living; and

(>) QUE thereof shall-be distributed to the
CEE, if she is then living, subject to the provisions of Article
THIRD hereof, or if she is not then living, to her then living issue, per stirpes, subject to the

provisions of Article FOURTH hereof; and

(c) QED thereof shall be distributed to the
ED if inc is then living, or if he is not then living, to

his then living issue, per stirpes, or in default of such issue to the then living issue, per stirpes, of

the Ss in each case subject to the provisions of Article FOURTH hereof;
and .

(d) Ten percent (10%) thereof shall be distributed to the
Grantor’s grandson, RICHARD LIEBOWITZ, if he is then living, or if he is not then living, to
his then living issue, per stirpes, or in default of such issue to the then living issue, per stirpes, of

the Grantor’s daughter, SARA, in each case subject to the provisions of Article FOURTH hereof;

and

(c) QQEREEED thereof shall be distributed to the
QE, if she is then living, or if she is not then

living, to her then living issue, per stirpes, or in default of such issue to the then living issue, per

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